Case 1:25-cv-00255-RDA-WBP   Document 5-4   Filed 02/12/25   Page 1 of 3 PageID# 108




                             Exhibit C
Case 1:25-cv-00255-RDA-WBP           Document 5-4         Filed 02/12/25      Page 2 of 3 PageID# 109




                         DECLARATION OF LEONARD J. KENNEDY

  I, Leonard J. Kennedy, declare as follows:

     1. My name is Leonard J. Kennedy. I am over 18 years old. The information in this

         declaration is based on my personal knowledge.

     2. I reside in Bethesda, MD, United States of America.

     3. I am an attorney.

     4. The Electronic Privacy Information Center (EPIC) is a non-profit, public interest research

         center established in 1994 to focus public attention on emerging privacy and civil

         liberties issues. Central to EPIC’s mission is oversight of government activities that

         impact individual privacy, free expression, and democratic values.

     5. I am a member of EPIC because I contribute to the advancement of the mission of EPIC

         and have been recognized and registered as a member by EPIC by virtue of paying.

     6. I am also a member of the EPIC Advisory Board, which is composed of distinguished

         experts in law, technology, and public policy.

     7. As a member of EPIC and the EPIC Advisory Board, I participate in the activities of

         EPIC, help finance the activities of EPIC, and provide leadership for EPIC. I also pay

         membership dues, as required by the amended EPIC bylaws.

     8. I became an EPIC member because I am concerned about protecting privacy, freedom of

         expression, and democratic values in the information age. As a law, technology, policy

         and privacy professional, EPIC’s work on these issues is of special importance to me.

     9. I have electronically filed a federal income tax return within the last six years.

     10. I have also received a federal tax refund via direct deposit within the last six years.

     11. Because I have electronically filed a federal information tax return and received a federal

         tax refund within the last six years, I understand that my personal information, including


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Case 1:25-cv-00255-RDA-WBP           Document 5-4          Filed 02/12/25   Page 3 of 3 PageID# 110




         my Social Security number and banking information, among other sensitive information,

         is stored in the payment systems of the U.S. Department of Treasury's Bureau of the

         Fiscal Service (BFS)

     12. Based on confidence in government security practices and explicit disclosures, such as

         the Taxpayer Bill of Rights, I understood and expected that the federal government would

         keep my personal information contained in BFS payment systems private and

         confidential.

     13. I understood and expected that the federal government would adhere to all applicable

         laws, regulations, and policies protecting the privacy, confidentiality, and security of my

         personal information contained in BFS payment systems.

     14. The unlawful breach, disclosure, and accessing of my personal information contained in

         BFS payment systems has caused me, and continues to cause me, significant fear about

         the misuse of my information by those who have accessed it, significant fear about the

         increased vulnerability of my personal information to further theft, and significant fear

         about the increased risk of identity theft.

  I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and

  correct.



  Executed on February 12, 2025



                                                               ___________________
                                                               Leonard J. Kennedy




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